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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Roadget Business Pte. Ltd.
                                                            Plaintiff,
v.                                                                       Case No.:
                                                                         1:23−cv−17036
                                                                         Honorable Sara L.
                                                                         Ellis
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
                                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 8, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held on
2/8/2024 and continued to 3/26/2024 at 9:30 AM for ruling on Plaintiff's motion for
preliminary injunction. Pursuant to the parties' agreement, the Court modifies the asset
restraining contained in the temporary restraining order. Thus, the Court denies as moot
Defendants' motion to dissolve or modify temporary restraining order [23], [26]. The
Court grants Plaintiff's motion to extend the temporary restraining order [29]. Plaintiff
shall file the motion for preliminary injunction on or before 2/15/2024. Defendant's
response shall be filed by 2/22/2024, and any replies by 2/29/2024. Mailed notice. (kp, )




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